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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                              FORT LAUDERDALE DIVISION

In re:                                                      Case No. 17-19141-RBR
         Ralph Levi Sanders, Jr.

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Robin R. Weiner, chapter 13 trustee, submits the following Final Report and Account of
the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 07/20/2017.

         2) The plan was confirmed on NA .

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was dismissed on 11/30/2017.

         6) Number of months from filing to last payment: 4.

         7) Number of months case was pending: 8.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: NA .

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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Receipts:

          Total paid by or on behalf of the debtor                 $6,052.50
          Less amount refunded to debtor                           $5,780.13

NET RECEIPTS:                                                                                          $272.37


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                       $0.00
    Court Costs                                                                 $0.00
    Trustee Expenses & Compensation                                           $272.37
    Other                                                                       $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                      $272.37

Attorney fees paid and disclosed by debtor:                         $0.00


Scheduled Creditors:
Creditor                                           Claim         Claim          Claim       Principal      Int.
Name                                   Class     Scheduled      Asserted       Allowed        Paid         Paid
Albertelli Law                     Unsecured              NA            NA            NA            0.00       0.00
ARS Account Resolutions            Unsecured           817.00           NA            NA            0.00       0.00
Citibank                           Unsecured              NA            NA            NA            0.00       0.00
Flagship Credit Acceptance         Unsecured              NA            NA            NA            0.00       0.00
IC System, Inc.                    Unsecured           116.00           NA            NA            0.00       0.00
Internal Revenue Service           Priority               NA            NA            NA            0.00       0.00
MEDICAL DATA SYSTEMS I             Unsecured           198.00           NA            NA            0.00       0.00
MEDICAL DATA SYSTEMS I             Unsecured           126.00           NA            NA            0.00       0.00
MEDICAL DATA SYSTEMS I             Unsecured            88.00           NA            NA            0.00       0.00
Small Business Administration      Secured         40,675.50            NA            NA            0.00       0.00
Small Business Administration      Unsecured              NA            NA            NA            0.00       0.00
United States Treasury             Priority               NA     37,648.15      37,648.15           0.00       0.00
Wells Fargo Bank, N.A.             Secured        380,682.00    384,910.40     384,910.40           0.00       0.00
Wells Fargo Bank, N.A.             Unsecured              NA            NA            NA            0.00       0.00
Westside Regional Medical Center   Unsecured              NA          69.93         69.93           0.00       0.00




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 Summary of Disbursements to Creditors:
                                                              Claim            Principal           Interest
                                                            Allowed                Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                       $0.00                 $0.00            $0.00
       Mortgage Arrearage                                     $0.00                 $0.00            $0.00
       Debt Secured by Vehicle                                $0.00                 $0.00            $0.00
       All Other Secured                                $384,910.40                 $0.00            $0.00
 TOTAL SECURED:                                         $384,910.40                 $0.00            $0.00

 Priority Unsecured Payments:
        Domestic Support Arrearage                             $0.00                $0.00            $0.00
        Domestic Support Ongoing                               $0.00                $0.00            $0.00
        All Other Priority                                $37,648.15                $0.00            $0.00
 TOTAL PRIORITY:                                          $37,648.15                $0.00            $0.00

 GENERAL UNSECURED PAYMENTS:                                  $69.93                $0.00            $0.00


Disbursements:

         Expenses of Administration                                $272.37
         Disbursements to Creditors                                  $0.00

TOTAL DISBURSEMENTS :                                                                           $272.37


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 03/23/2018                             By:/s/ Robin R. Weiner
                                                                          Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case , therefore, Paperwork Reduction Act
exemption 5 C.F.R. § 1320.4(a)(2) applies.




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